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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

Rob Penders,                               §
                                           §
      Plaintiff,                           §      NO: AU:22-CV-00178-DAE
                                           §
vs.                                        §
                                           §
Saint Edward's University, Inc.,           §
                                           §
      Defendants.                          §

                     ORDER FOR SETTLEMENT PAPERS

       On June 20, 2024 counsel advised the Court that this case settled (dkt no.
109). The parties have not filed the closing paperwork in this case. Accordingly,
it is hereby ORDERED that:
       1) The parties shall submit a stipulation of dismissal or agreed judgment
       and any appropriate supporting documents on or before Monday, August
       5, 2024. If the parties are unable to submit those documents by that date,
       parties should move for an extension of time to file the documents.

       2) All pretrial deadlines in this case are hereby STAYED pending the
       submission of the parties' stipulation of dismissal or agreed judgment, and
       any appropriate supporting documents. These deadlines will be reinstated
       if the parties are unable to finalize their settlement of this case.

       3)    Any motions pending in this action are DENIED WITHOUT
       PREJUDICE, subject to reurging should settlement fail.
       4) Any court settings in this case are cancelled.
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     No extensions of the above deadline shall be granted except upon a
showing of good cause.

      IT IS SO ORDERED.

      DATED: Austin, Texas, June 20, 2024.




                                        ______________________________
                                       DAVID A. EZRA
                                       SENIOR U.S. DISTRICT JUDGE
